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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
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     LUCAS R., et al.,                         Case No. CV 18-05741 DMG (PLAx)
13
                     Plaintiffs,               STIPULATED PROTECTIVE
14                                             ORDER
            v.
15
     ALEX AZAR, Secretary of U.S.
16   Department of Health and Human
     Services, et al.,
17
                     Defendants.
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19
20          Having considered the papers, and finding that good cause exists, the Court
21   hereby enters the Parties’ Stipulated Protective Order.
22
23
24          IT IS SO ORDERED.

25
26   DATED: March 12, 2019                         __________________________
                                                   PAUL L. ABRAMS
27                                                 United States Magistrate Judge
28
                                              1.                STIPULATED PROTECTIVE ORDER
                                                               CASE NO. 18-CV-05741 DMG PLA
